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ORIGINAL

IN THE UNITED STATES DISTRICT COURT Us oe Ot
FOR THE SOUTHERN DISTRICT OF TEXAS FIL

HOUSTON DIVISION J MAR 1 8 2005
BEVERLY SCHELSTEDER, and Mlshed! U, Milby, Gark
KENNETH SCHELSTEDER,
Plaintiffs, H-0 5 - 0 9 4 1
Vv.
C.A. NO.
(JURY DEMANDED)

MONTGOMERY COUNTY, TEXAS,

GUY WILLIAMS, RAY ZAVADIL,

RICKY STAGGS, and LAURA GILL,
Defendants.

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PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID UNITED STATES DISTRICT COURT:

NOW COMES Beverly Schelsteder and Kenneth Schelsteder, hereinafter called
Plaintiffs, in the above-entitled and numbered cause of action, and files this Original
Complaint against Montgomery County, Texas, Sheriff Guy Williams, Ray Zavadil, Ricky
Staggs, and Laura Gill (collectively called “Defendants”’), and would respectfully show the
Court as follows:

I. PARTIES
1. The Plaintiff
la. Plaintiff, Beverly Schelsteder, is a resident of the Southern District of Texas.

lb. Plaintiff, Kenneth Schelsteder, is a resident of the Southern District of Texas.
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2. The Defendants

2a. The Defendant, Montgomery County, Texas, (“the County”) is a governmental
entity that operates the Montgomery County Sheriff's Department and the Montgomery
County Constables Office and is legally responsible for the actions of its employees and
peace officers. It is located in Montgomery County, Texas.

2b. The Defendant, Guy Williams (“Williams”), is an individual who is a citizen of
Texas and a resident of the Southern District of Texas. At all times relevant to this lawsuit,
the Defendant Guy Williams was acting individually and within the scope and course of his
employment and/or appointment as the Montgomery County Sheriff, and as a policy making
official of the County and Sheriff's Department.

2c. The Defendant, Ray Zavadil (“Zavadil”), is an individual who is a citizen of
Texas and a resident of the Southern District of Texas. At all times relevant to this lawsuit,
the Defendant Officer Ray Zavadil was acting within the scope and course of his employment
as a Deputy Constable for the Montgomery County Constable’s Office.

2d. The Defendant, Ricky Staggs (“Staggs”), is an individual who is a citizen of
Texas and a resident of the Southern District of Texas. At all times relevant to this lawsuit,
the Defendant Officer Ricky Staggs was acting within the scope and course of his
employment as a Deputy Sheriff for the Montgomery County Sheriff's Department.

2e. The Defendant, Officer Laura Gill (‘Gill’), is an individual who is a citizen of

Texas and a resident of the Southern District of Texas. At all times relevant to this lawsuit,
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the Defendant Officer Gill was acting within the scope and course of her employment as a
Deputy Constable for the Montgomery County Constable’s Office.
Il. JURISDICTION

3. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331
because Plaintiffs are asserting a cause of action that arises under a federal statute.
Additionally, and in the alternative, this Court has subject-matter jurisdiction pursuant to 28
U.S.C. § 1343(3). This Court has supplemental jurisdiction over all other claims pursuant to
28 U.S.C. § 1367 because the other claims are so related to the federal cause of action that
they form part of the same “case or controversy,” as that term is used and understood in
Article III of the U.S. Constitution and 28 U.S.C. § 1367.

4, Venue is proper in the United States District Court for the Southern District of
Texas, Houston Division pursuant to 28 U.S.C. § 1391(b) because the Defendants’ reside
within the district and because a substantial part of the acts or omissions giving rise to the
claim occurred within the district.

Ill. CONDITIONS PRECEDENT

5. All conditions necessary for the maintenance of this action have been

performed of have occurred.
IV. FACTUAL BACKGROUND

6. On or about April 5, 2003, at approximately 12:00 a.m., Defendant, Officer

Ricky Staggs, entered booth #82 at the Montgomery County Fairgrounds Barbeque Cook Off

and told everyone in the tent to leave immediately unless they were spending the night. An
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occupant of the tent told Officer Staggs that the band was packing their equipment and that
the tent required straightening. Officer Staggs stepped into very close proximity with the
occupant and belligerently said they were not moving fast enough and ordered him to start
walking toward the gate immediately. Officer Staggs was told that some of the ladies would
need an opportunity to gather their belongings.

7. Plaintiff, Kenneth Schelsteder, emerged from the back of the tent and asked
Officer Staggs what the problem was. Officer Staggs rudely told Mr. Schelsteder, it was not
any of his business. Mr. Schelsteder, a retired Harris County deputy constable, explained that
it was his booth and if there was a problem he would like to know so he could help remedy it.

8. Approximately 10-15 officers arrived at the tent. Kenneth Schelsteder
attempted to calm Officer Staggs down who was evidently showing off for the other officers.

Officer Staggs rejected Mr. Schelsteder’s attempts to help settle the problem and Mr.
Schelsteder began to walk away. Officer Staggs called Mr. Schelsteder back, accused him of
using profanity and requested his identification. Mr. Schelsteder had not referred to Officer
Staggs in any derogatory manner, however complied by producing his identification.
Contrary to his earlier request, Officer Staggs told Mr. Schelsteder that he did not ask for the
identification and did not need to see it. Officer Staggs then, without probable cause or due
reason, placed Mr. Schelsteder under arrest and cuffed him with department issued
handcuffs.

9. Plaintiff, Kenneth Schelsteder, was arrested and handcuffed in front of his

friends, peers, colleagues, wife and children causing him embarrassment, humiliation and
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shame. Defendant, Officer Staggs, willfully, intentionally, knowingly, negligently and
maliciously arrested Mr. Schelsteder without probable cause so as to cause mental anguish
and in violation of rights guaranteed Mr. Schelsteder by the United States Constitution and
the laws of Texas.

10. Officer Staggs was informed that Plaintiff, Kenneth Schelsteder, is 56 years old
and is in bad health, suffering from several severe medical conditions including diabetes and
heart problems for which he has had open-heart surgery and takes medication. Officer
Staggs and other officers negligently ignored the warnings of Mr. Schelsteder’s bad health
and requests for assistance and maliciously forced him to remain handcuffed and walk up hill
to the officer’s post because, as the officers explained, they had no respect for Harris County
officers. This malicious treatment aggravated Mr. Schelsteder’s medical conditions and
needlessly caused him pain and suffering. Kenneth Schelsteder was taken to jail and
detained overnight until released after a hearing the following morning.

11. ‘Plaintiff, Beverly Schelsteder, who had left the premise with her son and was
walking to the gate after being singled out and belligerently ordered to leave by Officer
Staggs, saw her husband being arrested. Mrs. Schelsteder turned around and inquired as to
why they were arresting her husband. Defendant, Officer Ray Zavadil, rudely pushed Mrs.
Schelsteder back and told her it was none of her business. Mrs. Schelsteder tried to tell
Officer Zavadil that her husband was in bad health, having diabetes and a severe heart
condition, and that she needed to know where they were taking him because he needed his

medication. All of the sudden without warning, Officer Zavadil violently reached for,
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grabbed and jerked Mrs. Schelsteder’s right arm, twisting it behind her back causing severe
and sharp pain in her shoulder and neck. Officer Gill aggressively ran toward Mrs.
Schelsteder and physically assisted Officer Zavadil in putting Mrs. Schelsteder in department
issued handcuffs. The arrest was without probable cause and in violation of Beverly
Schelsteder’s Constitutional rights.

12. Mrs. Schelsteder is 5 feet 2 inches tall and 51 years old. She made no attempt
to escape, did not resist arrest and posed no threat to the officers. Additionally, the crime she
was being accused of was minor. Therefore, the force used against Mrs. Schelsteder was
objectively unreasonable and constituted excessive force in violation of her Constitutional
rights. The excessive force used to arrest and handcuff Mrs. Schelsteder caused serious
injury to her shoulder, which resulted in a torn rotator cuff, and caused her to endure fear,
pain and suffering.

13. Beverly Schelsteder asked Officer Zavadil why she was being arrested. Officer
Zavadil answered, Public Intoxication. Mrs. Schelsteder, who had not been drinking, asked
Officer Zavadil to give her a breath alcohol content test and a field sobriety test. Officer
Zavadil refused to administer either test stating that he did not have to in order to arrest her.

14. Plaintiff, Beverly Schelsteder, was arrested and handcuffed, without probable
cause or due reason, in front of her friends, peers, colleagues, husband, son and daughter
causing her embarrassment, humiliation and shame. Defendant, Officer Zavadil and Officer

Gill, willfully, knowingly, negligently, intentionally and maliciously arrested Mrs.
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Schelsteder in this manner to cause her mental anguish and physical injury in disregard for
her rights guaranteed by the United States Constitution and the laws of Texas.

15. Emergency medical services were summoned to treat Beverly Schelsteder for
injuries resultant from the excessive force used in affecting her unlawful arrest by Officer
Zavadil. Officer Zavadil continued to chastise Mrs. Schelsteder with insults, accusations and
profanity while EMS was attending to her. EMS transported Mrs. Schelsteder to the hospital.

Officer Zavadil, although having released Mrs. Schelsteder from custody at the scene,
followed her to the hospital where he continued to insult and threaten her. Officer Zavadil
subjected Mrs. Schelsteder to excessive verbal abuse and threats to cause, and which resulted
in, her fear, shame and humiliation in violation of rights guaranteed by the United States
Constitution and the laws of Texas.

16. Plaintiff, Beverly Schelsteder, was summoned to court by the constable’s notice
to appear/official process on the charges of public intoxication and disorderly conduct, by
Officer Zavadil and Officer Gill, without probable cause. The officers levied the illegitimate
charges willfully, knowingly and maliciously for the purpose of causing Mrs. Schelsteder
fear, shame and humiliation in forcing her to appear in court in answer to the charges.

V. COUNT ONE
42 U.S.C. § 1983 Violations of Constitutional Rights as to the Defendants
Montgomery County, Texas, Sheriff Guy Williams, Ray Zavadil,
Ricky Staggs, and Laura Gill
17. ‘Plaintiffs reallege and incorporate by reference paragraphs 1-16 of the

Complaint as if set forth at this point in the Complaint verbatim.
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18. The actions of Defendants Sheriff Guy Williams, Ricky Staggs, Ray Zavadil,
Laura Gill, and Montgomery County Texas, and their creation and establishment of the
policies, customs, or procedures of the Montgomery County Sheriff's Department and the
Montgomery County Constable’s Office, acting under color of law, violated Kenneth
Schelsteder’s and Beverly Schelsteder’s, clearly established rights under the Fourth and
Fourteenth Amendments to the Constitution of the United States. Specifically, this conduct
violated their rights: (1) to be free from unlawful arrest and detention under the Fourth and
Fourteenth Amendments to the Constitution of the United States; (2) to be free from
unreasonable seizure of her/his person under the Fourth Amendment to the Constitution of
the United States; and (3) to be free from the use of unreasonable, unnecessary, and excessive
force under the Fourth and Fourteenth Amendments to the Constitution of the United States.
Plaintiffs allege their Fourth and Fourteenth Constitutional rights were violated when they
were arrested, detained and maliciously prosecuted without probable cause or warrant and
bring this claim pursuant to 42 U.S.C. §1983.

19. Acting under color of law, Officer Staggs knowingly, intentionally, maliciously
and without reasonable cause violated Kenneth Schelsteder’s Fourth and Fourteenth
Constitutional Rights when he arrested Kenneth Schelsteder without reason or probable
cause for Public Intoxication under Texas Penal Code Statute §49.02. Officer Staggs
effectuated the arrest knowing that Kenneth Schelsteder was not under the influence of
alcohol or any other substance to the degree to endanger himself or another. Kenneth

Schelsteder was not intoxicated or under the effect of any other substance and told the
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arresting officer this information. Officer Staggs did not test or investigate to discover or
prove if Plaintiff had been drinking. In fact, Officer Staggs refused to test Kenneth
Schelsteder or look at his diabetic card to establish probable cause. Officer Staggs cannot
claim qualified immunity because he knew the arrest to be unlawful and in violation of
Kenneth Schelsteder’s Constitutional and Statutory rights.

20. Further, Kenneth Schelsteder was subjected to cruel and unusual punishment in
violation of his rights protected by the Eighth Amendment to the United States Constitution.
Defendants maliciously forced Kenneth Schelsteder to walk handcuffed up a hill to the
officer’s post with total disregard for his physical impairments and the pain inflicted.

21. Officers Zavadil and Gill, acting under color of law, knowingly, maliciously
and without reasonable cause violated Beverly Schelsteder’s Fourth and Fourteenth
Constitutional Rights when they arrested her without reason or probable cause for Public
Intoxication under Texas Penal Code Statute §49.02. Officers Zavadil and Gill knew this
arrest was unlawful and in violation of Plaintiffs’ Constitutional and statutory rights. Beverly
Schelsteder had not consumed any alcohol or any substance to make her act or appear
intoxicated. Officers asked her no questions to inquire if she had been drinking or taken any
substance. Officers Zavadil and Gill refused to administer any test to substantiate their claim
or provide probable cause. Officers Zavadil and Gill effectuated this arrest with the
knowledge that Beverly Schelsteder was not under the influence of alcohol or any other

substance to the degree to endanger herself or another. Because of this intentional violation
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of Constitutional and Statutory rights, Officers Zavadil and Gill cannot claim qualified
immunity.

22. Further, Beverly Schelsteder alleges that the amount of force used to effect her
arrest was objectively unreasonable regardless of the lawfulness of the arrest. Officers
Zavadil and Gill used an objectively unreasonable amount of force and caused Beverly
Schelsteder severe injury without the need for application of force, because of absence of
threat, while arresting her for an alleged minor offense.

23. Sheriff Guy Williams, is authorized to make policies and is a policymaker for
Montgomery County. Plaintiffs allege that the practices or customs of arresting without due
reason or probable cause, the use of excessive force and/or cruel and unusual punishment in
violation of Constitutional rights are common, pervasive, widespread or adopted practices,
policies or customs known to named defendants. As such, Plaintiffs allege that Montgomery
County is subject to liability. Specifically, Plaintiffs allege that Montgomery County’s arrest
and use of force policies are unconstitutional on their face and/or are the result of informal
orders, directions or practices that constitute a custom of Constitutional violations.
Alternatively, Plaintiffs alleges a single decision by Sheriff Williams, the final policy maker
for the county, or his agents or employees with decision-making authority was sever enough
to amount to a policy or custom of excessive force, unlawful search and seizure, and/or cruel

and unusual punishment.
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VI. COUNT TWO

Plaintiffs’ State Law Claim of Negligence as to Defendant
Montgomery County, Texas

24. Plaintiffs reallege and incorporate by reference paragraphs 1-23 of the
Complaint as is set forth at this point in the Complaint verbatim.

25. Plaintiffs, Kenneth Schelsteder and Beverly Schelsteder, would show
Defendant, Montgomery County, Texas, negligently hired and negligently retained Officer
Ricky Staggs, Officer Ray Zavadil and Officer Laura Gill in breach of Defendants’ legal duty
to hire, supervise and retain competent employees and that breach of duty proximately caused
the Plaintiffs’ injuries. Thereby these actions are independently actionable under Texas law.

26. Plaintiffs, Kenneth Schelsteder and Beverly Schelsteder, would show
Defendant, Montgomery County’, Texas, negligently trained Officer Ricky Staggs, Officer
Ray Zavadil and Officer Gill in breach of Defendants’ legal duty to adequately train’ said
officers in, but not limited to, conflict resolution, arrest procedures, probable cause, field
sobriety and arrest techniques. By this breach the Defendant proximately caused Plaintiffs’
injuries. Thereby this action is independently actionable under Texas law.

27. The Defendant, Montgomery County, Texas, is liable for negligence under the
Texas Tort Claims Act, Section 101.021(2) because Ricky Staggs, Ray Zavadil and Officer
Gill, County employees of the Montgomery County Sheriff's Department and the

Montgomery County Constable’s Office, in the course and scope of their employment, were

 

' Canton v. Harris, 489 U.S. 378, 380 (1989). Municipalities can be held liable under §1983 “for Constitutional
violations resulting from its failure to train municipal employees.” Id.
* Houser v. Smith, 968 S.W.2d 542, 544 (Tex. App.—Austin 1997, not writ).
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negligent in their use of tangible personal property, which was the proximate cause of
Plaintiff's injuries and damages.

28. The Texas Tort Claims Act establishes in pertinent part that a governmental
unit in the state is liable for “personal injury and death so caused by a condition or use of
tangible personal or real property if the governmental unit would, were it a private person, be
liable to the claimant under Texas law.””

29. “Although a clearly intentional act may not be legitimately characterized as
negligence in an effort to bypass state sovereign immunity, there is no impediment to a
proper characterization of negligence where the facts may show that officers in the course
and scope of their duty improperly or negligently used tangible personal property during an
arrest, resulting in an injury.”” Under Texas case law, when an action for intentional tort is
barred, it does not prevent the injured party from pursuing a simple negligence claim arising
out of the same facts.’ Specifically, the Texas Supreme Court held that the Texas Tort
Claims Act did not preclude recovery for injuries resulting from the negligent use of tangible
property when the same set of facts supported a claim for the intentional tort of false

imprisonment.’

 

> See TEX. CIV. PRAC. & REM. CODE § 101.021(2).

* Hucker v. City of Beaumont, 144 F.Supp.2d 696, 708 (E.D. Tex. 2001) (internal citation omitted).

° Id. (citing Jefferson County v. Sterk, 830 S.W.2d 260, 261 (Tex. App —Beaumont 1992, no writ history)).

° Texas Dept. of Mental Health and Mental Retardation v. Petty, 848 S.W.2d 680, 685 (Tex. 1992), overruled on
other grounds, Cathey v. Booth, 900 S.W.2d 339, 341 (Tex. 1995).
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30. Inthis case, Officer Staggs, Officer Zavadil and Officer Gill were negligent’ in
the use of their department issued equipment including, but not limited to, handcuffs and
county issued process/notice to appear. Their actions and uses of department issued and
provided equipment were highly unreasonable and far beyond that of an ordinary prudent
police officer in a similar situation.

31. Proper notice has been given to the Defendants as required by the Texas Tort
Claims Act.2 Defendant, Montgomery County, Texas, had actual notice” of Plaintiff's
injuries; and had actual notice that Officer Staggs and Officer Zavadil were involved in and
were witnesses to the incident in question. The incident has been reported to and is being
investigated by the Montgomery County Sheriff's Department, as a result of the
investigation, Montgomery County acquired full, complete, and actual knowledge of the
occurrence, giving rise to Plaintiffs cause of action. In addition, formal written notice has
been provided to the Defendants pursuant to TEX. CIV. PRAC. & REM. CODE ANN. § 101.101.

All of the notice described herein was actual or within 6 months of the incident and the
notice reasonably described the damages and/or injuries claimed, the time and place of the

incident, and the incident itself.

 

7 A governmental entity can be held liable for the negligence of its employees. TEX. CIV. PRAC. & REM. CODE ANN.
§ 101.021(1); DeWitt v. Harris City, 904 S.W.2d 650, 653 (Tex. 1995).

® See TEX. CIV. PRAC. & REM. CODE ANN. § 101.101(a), (c).

* In order to constitute actual notice, a governmental entity must have knowledge of the injury, the entity’s alleged
fault in contributing to it, and the identity of the parties involved. Garcia v. Texas Dept. of Criminal Justice, 902
8.W.2d 728, 730 (Tex. App.—Houston [14th Dist.] 1995, no writ).
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Vil. ACTUAL DAMAGES

32. Asa direct and proximate result of the Defendants’ unlawful acts, conduct
and/or omissions made the basis of this lawsuit, Plaintiffs, Kenneth Schelsteder and Beverly
Schelsteder, were caused to suffer serious personal injuries.

33. As aresult of Defendants’ acts, Plaintiffs, Kenneth Schelsteder and Beverly
Schelsteder, suffered needlessly with anxiety, pain, and/or illness resulting in damages more
fully set forth below, Plaintiffs incurred the following damages:

a. Reasonable medical care and expenses in the past. These expenses were
incurred by Plaintiff Beverly Schelsteder for the necessary care and treatment
of the injuries resulting from the incident complained of herein and such
charges are reasonable and were usual and customary charges for such services

in Montgomery and Harris Counties, Texas;

b. reasonable and necessary medical care and expenses which will in all
reasonable probability be incurred in the future;

c. physical pain and suffering in the past;
d. mental anguish in the past;

e. physical pain and suffering in the future;
f. mental anguish in the future;

g. physical impairment in the past;

h. physical impairment which, in all reasonable probability, will be suffered in
the future;

i. disfigurement in the past;
j. disfigurement in the future; and

k. personal discomfort, annoyance, and inconvenience.
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34. The damages sustained by Plaintiffs as set forth above were the direct and
proximate result of Defendants Montgomery County, Texas, Sheriff Guy Williams, Ray
Zavadil, Ricky Staggs, and Laura Gill. Plaintiffs specifically reserve the right to further
plead damages at a later date.

VITI. PUNITIVE DAMAGES

35. Asto Plaintiffs’ claims against Defendants, Montgomery County Texas, Sheriff
Guy Williams, Officer Ricky Staggs, Officer Ray Zavadil, and Officer Laura Gill, such acts
or omissions were malicious or done with conscious indifference as defined by state law and
entitle the Plaintiffs to recover punitive and/or exemplary damages.

IX. ATTORNEY FEES

36. It was necessary for Plaintiffs to hire the undersigned attorneys to file this
lawsuit. Upon judgment, Plaintiffs are entitled to an award of attorney fees and cost under 42
U.S.C. § 1988(b) and TEX.BUS. & COMMERCE CODE ANN. ARTS 17.46(b) & 17.50(a) &
(b)(1).

X. JURY REQUEST

37. Plaintiffs hereby request a trial by jury.

XI. PRAYER

38. For these reasons, Plaintiffs ask for judgment against all Defendants, jointly and
severally, for the following:

a. All actual damages sustained by Plaintiffs.
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b. All punitive damages assessed against Defendant Montgomery County,
Sheriff Guy Williams, Officer Ricky Staggs, Officer Ray Zavadil and
Officer Laura Gill.

c. Prejudgment and post judgment interest.

d. Costs of suit, including attorney fees.

All other relief the court deems appropriate.

Respectfully submitted,

MATT FREEMAN & ASSOCIATES

 

State Bar No. 24027171

SD Tex. No. 27102
Charles M. Hessel

State Bar No. 24046071
SD Tex. No. 570588

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ATTORNEYS FOR PLAINTIFFS
BEVERLY SCHELSTEDER AND KENNETH
SCHELSTEDER
Case 4:05-cv-00941 Dogoyneryt COVER SERB /PS in TXSD Page 17 of 17

fhe JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided b
ocal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civi
locket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM )

SJS 44 (Rev 11/04)

 

DEFENDANTS

. (a) PLAINTIFFS

“Revecly

(b) County of Residence of First Listed Plaintiff
(EXCEPT INU S PLAINTIFF

(C) Attorney’s (Fim Name, Address, and Telephone Number)

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Attorneys (If Known
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ws (For Drversity Cases Only) and One Box for Defendant)
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Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
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CONTRACT TORTS FORFEFTURE/PENALTY BANKRUPTCY OTHER STATUTES
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7 140 Negotiable Instrument Liability (1 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
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J 190 Other Contract Product Liability C1 385 Property Damage 1 720 Labor/Mgmt Relations | (3 863 DIWC/DIWW (405(g)) 12 USC 3410
3 195 Contract Product Liability {360 Other Personal Product Liability 1) 730 Labor/Mgmt Reporting | (1) 864 SSID Title XVI 17 890 Other Statutory Actions
J 196 Franchise Injury & Disclosure Act C1 865 RSI (405(g)) 01 891 Agricultural Acts
REAL PROPERTY CIVIL. RIGHTS PRISONER PETITIONS _]01 740 Railway Labor Act FEDERAL TAX SUITS (892 Economic Stabilization Act
3 210 Land Condemnation O 441 Voting 1 510 Motions to Vacate (790 Other Labor Litigation O 870 Taxes (US Plaintiff O 893 Environmental Matters
J 220 Foreclosure (J 442 Employment Sentence O1 791 Emp! Ret Inc or Defendant) (1 894 Energy Allocation Act
J 230 Rent Lease & Ejectment OO 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Thurd Party 0 895 Freedom of Information
3 240 Torts to Land Accommodations C1 530 General 26 USC 7609 Act
1 245 Tort Product Liability O 444 Welfare © 535 Death Penalty C1 900Appeal of Fee Determmatior
J 290 All Other Real Property OC) 445 Amer w/Disabilities- |] 540 Mandamus & Other Under Equal Access
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VI. CAUSE OF ACTION Brief description of cayse:
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VII. REQUESTED IN

(] CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

(Yes

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: C1No
VIEL RELATED CASE(S) ;
IF ANY Gee instructions) SUDGE DOCKET NUMBER

 

 

 s/elos

‘OR OFFICE USE ONLY

RECEIPT #

AMOUNT

SIGNATURE OF ATTORNEY OF RECORD

APPLYING IFP

 

JUDGE

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